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              IN THE UNITED STATES DISTRICT COURT FOR THE
                         DISTRICT OF COLUMBIA


                                       )
United States                          )
                                       )
                v.                     )               NO. 1:21cr140
                                       )
Larry Brock                            )
                                       )
                                       )
       Defendant.                      )

                      MOTION TO CONTINUE SENTENCING

     Comes now the Defendant Larry Brock and moves to continue his sentencing date.

Mr. Brock submits the following:

     1.     Mr. Brock’s sentencing is scheduled for February 14. This is the initial

          sentencing set by the Court following trial, there have been no previous requests

          for continuance.

     2.     On Friday, February 3 the government notified the defense of potentially

          exculpatory information not produced before trial. Due to the Court’s

          protective order regarding discovery, the exact nature of the information will

          not be discussed in this filing. The particulars can be shared in a sealed filing if

          the Court requires additional information to decide this request.

     3.     Undersigned counsel requires additional time to research the new evidence to

          determine if any action needs to be taken on Mr. Brock’s behalf. A brief

          continuance of approximately 30 days will allow time to do the necessary

          research.

     4.     Mr. Brock consents to this continuance request. He has complied with his
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          conditions of release throughout this case and has continued to do so.

     5.     Counsel for the government does not object to this request.

     For the foregoing reasons, defendant Larry Brock respectfully requests a

continuance of his sentencing for approximately 30 days.




                                                     Respectfully Submitted,

                                                     By:

                                                     /s/ Charles Burnham
                                                     Charles Burnham VSB # 72781
                                                     Attorney for the Accused
                                                     Burnham & Gorokhov, PLLC
                                                     1424 K St. NW, Suite 500
                                                     Washington, DC 20005
                                                     (202) 386-6920 (phone)
                                                     (202) 765-2173
                                                     charles@burnhamgorokhov.com
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                     CERTIFICATE OF SERVICE

 I have served this filing on the government through the ecf system.



                                              Respectfully Submitted,



                                              By: /s/ Charles Burnham
                                              Charles Burnham VSB # 72781
                                              Attorney for the Accused
                                              Burnham & Gorokhov, PLLC
                                              1424 K St. NW, Suite 500
                                              Washington, DC 20005
                                              (202) 386-6920 (phone)
                                              (202) 765-2173 (fax)
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